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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION

 DONNELL E. GILDER, JR.,       )
                               )
                   Petitioner, )
                               )            Cause No. 1:18-cv-2096-JMS-DLP
          v.                   )
                               )
 UNITED STATES OF AMERICA,     )
                               )
                   Respondent. )


                    MEMORANDUM IN OPPOSITION
                  TO GILDER’S 28 U.S.C. § 2255 MOTION

       The United States, by counsel, Josh J. Minkler, and Jeffrey D. Preston,

 hereby responds to Donnell Gilder’s motion for post-conviction relief under 28

 U.S.C. § 2255. Gilder primarily claims that his attorney was ineffective prior

 to Gilder’s plea agreement. In addition, Gilder brings freestanding claims for

 unconstitutional vagueness, a Sixth Amendment violation, and a sentence

 reduction under the First Step Act. For the reasons detailed below, this Court

 should deny Gilder’s challenge.

                   RELEVANT PROCEDURAL HISTORY

       On April 16, 2016, Gilder robbed a Speedway Gas Station in

 Indianapolis, Indiana. (Crim. Dkt. 51 at 10.) He admitted to law enforcement

 officers that he fired his handgun while inside. (Id.) He stole $136. (Id.) These

 facts established the basis for Counts 9 and 20. (Id.)

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       Eleven days later, Gilder robbed another Speedway in Indianapolis.

 (Id. at 11.) A clerk from the store was smoking outside when she noticed

 Gilder sneaking up on her. (Id.) She ran for the store and attempted to lock

 the doors. (Id.) Gilder chased the clerk, but fell outside the business’s doors.

 (Id. at 12.) He stood up and shot a round from his handgun through the door.

 (Id.) The clerk ran to the freezer area of the store to hide. (Id.) Gilder picked

 up the spent shell casing and entered the Speedway. (Id. at 13.) Surveillance

 footage captured this robbery. (Id.)

       After a pursuit, Gilder was apprehended with one 9-millimeter

 handgun magazine. (Id. at 14.) A semi-automatic handgun was later located

 near the location that Gilder was apprehended. (Id. at 15.) These facts

 established the basis for Counts 11 and 22. (Id. at 11-15.)

       Gilder, while brandishing a firearm, participated in nine additional

 robberies between February 29, 2016 and April 27, 2016. (Id. at 16.)

       Gilder was charged in a twenty-two count indictment with interference

 with commerce by robbery, in violation of 18 U.S.C. 1951(a) (Counts 1

 through 11); brandishing a firearm during a crime of violence, in violation of

 18 U.S.C. § 924(c)(1)(A)(ii) (Counts 12-19 and 21); and discharge of a firearm

 during a crime of violence, in violation of 18 U.S.C. § 924(c)(1)(A)(iii) (Counts

 20 and 22). (Crim. Dkt. 15.)

       On March 13, 2017, a petition to enter a plea of guilty and plea

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 agreement was filed pursuant to Federal Rule of Criminal Procedure

 11(c)(1)(B), where Gilder pled guilty to Counts 9, 11, 20, and 22. (Crim. Dkt.

 43.) The United States agreed to dismiss the remaining counts. (Id. at 2.) The

 United States also agreed to request a sentence at the low end of the

 guideline range, while Gilder could request a lower sentence. (Id at 9.) The

 parties stipulated and agreed to the factual basis. (Id. at 18.)

       Gilder’s total offense level was 24, his criminal history category of I,

 and his guideline range was 51 to 63 months for Counts 9 and 11. (Id. at 2.)

 As to the Counts 20 and 22, consecutive minimum sentences of 10 and 25

 years were statutorily required. (Id.)

       Gilder waived his right to appeal his conviction and sentence imposed

 on any ground, or seek collateral review under § 2255. (Id. at 23-24.) The

 § 2255 waiver did not encompass claims of ineffective assistance of counsel.

 (Id. at 24.)

       On July 10, 2017, the Court accepted Gilder’s plea agreement and

 sentenced Gilder to 420 months and one day of imprisonment, to be followed

 by three years of supervised release. (Crim. Dkt. 55.) The government moved

 to dismiss the remaining counts and the Court granted the motion.

       On July 10, 2018, Gilder filed a § 2255 motion alleging his attorney was

 ineffective for: (1) failing to investigate the facts surrounding his initial



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 interview with police officers; and (2) failing to fully explain the plea and

 sentencing process. (Dkt. 1.)

       On July 13, 2018, the Court directed the United States to respond.

 (Dkt. 2.) On January 7, 2019, Gilder filed an amended motion for post-

 conviction relief pursuant to § 2255, dropping his first ineffective assistance

 of counsel claim and reiterating the second. (Dkt. 14.) Additionally, Gilder

 added three new claims: (1) the statute he was sentenced under was

 unconstitutionally vague; (2) the 2018 First Step Act reduces his sentence;

 and (3) his Sixth Amendment right to a jury trial was violated. (Id.)

                                    DISCUSSION

                         I.      28 U.S.C. § 2255 Standard

       A motion pursuant to 28 U.S.C. § 2255 is the presumptive means by

 which a federal prisoner can challenge his conviction or sentence. See Davis

 v. United States, 417 U.S. 333, 343 (1974). A court may grant relief from a

 federal conviction or sentence pursuant to § 2255 “upon the ground that the

 sentence was imposed in violation of the Constitution or laws of the United

 States, or that the court was without jurisdiction to impose such sentence, or

 that the sentence was in excess of the maximum authorized by law, or is

 otherwise subject to collateral attack.” 28 U.S.C. § 2255(a). “Relief under

 § 2255 is available only in extraordinary situations, such as an error of

 constitutional or jurisdictional magnitude or where a fundamental defect has

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 occurred which results in a complete miscarriage of justice.” United States v.

 Coleman, 763 F.3d 706, 708 (7th Cir. 2014) (internal quotation omitted).

              II.    Ineffective Assistance of Counsel Standard

       A petitioner claiming ineffective assistance of counsel bears the burden

 of showing (1) trial counsel’s performance fell below objective standards for

 reasonably effective representation and (2) this deficiency prejudiced the

 defense. Strickland v. Washington, 466 U.S. 668, 688-94 (1984); United States

 v. Jones, 635 F .3d 909, 915 (7th Cir. 2011). If Gilder cannot establish one of

 the Strickland prongs, the Court need not consider the other. Groves v.

 United States, 755 F.3d 588, 591 (7th Cir. 2014).

       To satisfy the deficiency prong of the Strickland test, Gilder must

 direct the Court to specific acts or omissions of his counsel. Wyatt v. United

 States, 574 F.3d 455, 458 (7th Cir. 2009). The Court must then consider in

 light of all of the circumstances whether counsel’s performance was outside

 the wide range of professionally competent assistance. Id.

       In order to satisfy the prejudice component, Gilder must establish

 “there is a reasonable probability that, but for counsel’s unprofessional

 errors, the result of the proceeding would have been different.” Strickland,

 466 U.S. at 694. In addition, in attacking trial counsel’s performance, a

 defendant “must ‘overcome the presumption that, under the circumstances,

 the challenged action might be considered sound trial strategy.’” Frentz v.

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 Brown, 876 F.3d 285, 293 (7th Cir. 2017) (quoting Strickland, 466 U.S. at

 689). In the context of a plea, the “defendant must show that there is a

 reasonable probability that, but for counsel’s errors, he would not have

 pleaded guilty and would have insisted on going to trial.” Lafler v. Cooper,

 566 U.S. 156, 163 (2012) (quoting Hill v. Lockhart, 474 U.S. 52, 58 (1985)).

       Gilder’s claim must be viewed in context of his guilty plea.

 “Surmounting Strickland’s high bar is never an easy task.” Lee v. United

 States, 582 U.S. __, 137 S. Ct. 1958, 1967 (2017) (citing Padilla v. Kentucky,

 559 U.S. 356, 371 (2010)). “[A]nd the strong societal interest in finality has

 ‘special force with respect to convictions based on a guilty plea.’” Id. (quoting

 United States v. Timmreck, 441 U.S. 780, 784 (1979)). Thus, “Courts should

 not upset a plea solely because of post hoc assertions from a defendant about

 how he would have pleaded but for his attorney’s deficiencies.” Id.

       With that high standard in mind, the government will address Gilder’s

 particularly claims, in turn, below. Gilder asserts two claims ostensibly

 framed as ineffective assistance of counsel: (1) that his counsel failed to

 inform him of the nature of his offense and plea deal, and (2) that his counsel

 failed to investigate constitutional violations 1. To the extent these are




 1While Gilder asserts both claims in his original motion, in his amended
 motion he asserts only the first. The government has chosen to respond to
 both.
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 freestanding claims, they are not permitted on collateral review. Cf. Stone v.

 Powell, 428 U.S. 465, 481 (1976). The government, in the interest of

 interpreting pro se litigation liberally, will also address these claims as

 ineffective assistance of counsel (albeit without forfeiting any claim that

 Gilder’s non-ineffective assistance of counsel claims are procedurally

 defaulted).

                              III.   Failure to Inform

       Gilder first claims his plea was not made knowingly and voluntarily—

 although he frames this as an ineffective assistance of counsel argument.

 Gilder specifically claims his counsel was ineffective because counsel did not

 explain the nature of the charges against him and, therefore, his guilty plea

 was not made knowingly and voluntarily. (Dkt. 1 at 10.) While an attorney

 can fall below the objectively reasonable standards for failure to keep her

 client informed of important case developments, there is no evidence of such a

 failure in Gilder’s case. See Strickland 466 U.S. at 688.

          A. Gilder’s bare assertions of lack of understanding are
             insufficient to meet the Section 2255 burden

       First, Gilder has not alleged sufficient facts to overcome the

 presumption of reasonable performance. Gilder alleges only that counsel




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 should have “handled him with kid gloves” and that he did not “understand

 the process to which he was being sentenced.” (Dkt. 1 at 19.)

       But this type of broad, unsupported assertion of ineffective assistance

 of counsel is insufficient. Hurlow v. United States, 726 F.3d 958, 966 (7th Cir.

 2013). Section 2255 petitions “must be accompanied by a detailed and specific

 affidavit which shows that the petitioner had actual proof of the allegations

 going beyond mere unsupported assertions.” Prewitt v. United States, 83 F.3d

 812, 819 (7th Cir. 1996) (internal quotations omitted). Gilder did not present

 “an affidavit from himself or his trial counsel supporting his version of his

 attorney’s conduct, nor any other available, probative evidence” to support his

 claim. Galbraith v. United States, 313 F.3d 1001, 1009 (7th Cir. 2002).

 Therefore, this Court should summarily deny Gilder’s claim.

       Moreover, Gilder’s failure to flesh out his unsubstantiated claim makes

 it difficult to respond to, but the Government attempts to do so below.

          B. Gilder’s Rule 11 colloquy presumes understanding and
             rebuts his claim of deficient performance

       Gilder’s responses during his Rule 11 colloquy disabuse any notion that

 he did not understand his plea—or that he should have been treated with

 “kid gloves.”

       Rule 11(d) of the Federal Rules of Criminal Procedure requires a

 district court to ask the defendant specific questions before the court accepts


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 a plea deal, to ensure the defendant’s rights are being upheld and to provide

 an adequate record for appeal and collateral attacks. Key v. United States,

 806 F.2d 133, 136 (7th Cir. 1986). This creates a presumption that the plea

 was made voluntarily and knowingly. Id.

       A defendant’s sworn statements in a Rule 11 colloquy are presumed to

 be true. United States v. Graf, 827 F.3d 581, 584 (7th Cir. 2016). A defendant

 who claims his plea was not made knowingly and voluntarily, contrary to his

 assertions at the Rule 11 colloquy, faces a heavy burden of persuasion.

 United States v. Standiford, 148 F.3d 864, 868-69 (7th Cir. 1998).

       During Gilder’s plea and sentencing hearing, the transcript reveals the

 court scrupulously analyzed the plea deal and its consequences with Gilder.

 (Sent. Tr. 7, 9, 10, and 21.) Gilder affirmed his understanding of the four

 counts he pleaded guilty to, the elements the government would have needed

 to prove at trial for each offense, and the guideline range for each offense, as

 well as the many other rights Gilder was waiving and potential consequences

 of his waiver. (Sent. Tr. 7, 9, 10, and 21). At no point did Gilder display

 confusion or a lack of understanding regarding the plea process.

       Thus, nothing from the Rule 11 colloquy gives any hint that Gilder

 failed to understand his plea—much less portray any deficiency necessitating

 a “kid glove” approach from his attorney. (Nor, in fact, does the record even



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  indicate that Gilder’s attorney failed to treat Gilder with “kid gloves”—

  Gilder’s attorney very well might have.)

          Therefore, Gilder’s claim of ineffective assistance of counsel based on

  failure to explain the legal process is rebutted by Gilder’s own firm assertions

  of understanding at the Rule 11 colloquy.

             C. Gilder’s beneficial plea deal and the Rule 11 colloquy
                rebut any claim of prejudice

          Nor has Gilder shown prejudice for failure to inform. In the context of a

  plea, the “defendant must show that there is a reasonable probability that,

  but for counsel’s errors, he would not have pleaded guilty and would have

  insisted on going to trial.” Hill, 474 U.S. at 58. Gilder cannot merely allege

  that he would have pleaded differently and gone to trial. See Key, 806 F.2d at

  139. Instead, he must make a substantial claim using objective evidence, not

  merely give self-serving testimony. McCleese v. United States, 75 F.3d 1174,

  1179 (7th Cir. 1996). Gilder has failed to present any evidence other than his

  own vague assertions. The record in no way reveals a reasonable probability

  that Gilder would have chosen to go to trial had he better understood the plea

  deal.

          In fact, the record suggests the exact opposite. As detailed more below,

  see Part IV.A, the plea bargain allowed Gilder to plead to only four out of

  twenty-two counts—despite the overwhelming strength of the prosecution’s


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  evidence (e.g., Gilder’s confession, a surveillance tape of him committing the

  crime, and eyewitness testimony). (Crim. Dkt. 44 and 47 at 5.) Gilder greatly

  benefited from his counsel’s negotiated plea deal. In the face of an extremely

  beneficial plea deal and the government’s strong evidence, Gilder has plainly

  failed to show with reasonable probability that he would have gone to trial if

  further informed (in some unidentified nebulous manner) about his case.

        Finally, the Rule 11 colloquy also rebuts prejudice. Even if Gilder’s

  counsel failed properly explain the nature of the plea deal to him, it is clear

  from the record that the judge thoroughly explained each charge and its

  consequence. (Sent. Tr. 7, 9, 10, and 21). A proper Rule 11 colloquy normally

  remedies any failure to inform on the part of the trial counsel. United States

  v. Padilla, 23 F.3d 1220, 1221 (7th Cir. 1994). Thus, Gilder was not

  prejudiced by this alleged lack of communication.

        The record reflects the defendant knowingly and voluntarily pleaded

  guilty and he presented no new specific allegations in his §2255 motion.

  Therefore, Gilder proved neither deficiency nor prejudice and his motion

  based on ineffective assistance of counsel should be denied.

                            IV.   Failure to Investigate

        Gilder next claims his counsel failed to investigate the facts

  surrounding his interview with law enforcement and that, had she done so,

  she would have discovered his Fifth and Sixth Amendment rights were

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  violated. (Dkt. 1 at 11). However, not only did counsel perform more than

  adequately in the plea negotiations, but counsel was not ineffective here

  because Gilder’s constitutional claims are meritless.

              A. Counsel’s commendable performance during plea
                 negotiations undermine Gilder’s deficiency and
                 prejudice arguments.

        Firstly, Gilder’s claim should be considered in light of the unique and

  nuanced nature of plea bargaining. “Plea bargains are the result of complex

  negotiations suffused with uncertainty, and defense attorneys must make

  careful strategic choices in balancing opportunities and risks.” Premo v.

  Moore, 562 U.S. 115, 124 (2011). This uncertainty inherent in plea bargaining

  increases the already-substantial burden on Gilder to show ineffective

  assistance. Id. at 132.

        Deficiency is measured differently depending on the stage of the case.

  Id. at 126. There is a benefit to acknowledging guilt and accepting

  responsibility early in the process, as it allows the defendant to “plead[ ] to a

  lesser charge and obtain[ ] a lesser sentence, as compared with what might be

  the outcome not only at trial but also from a later plea offer if the case grows

  stronger and prosecutors find stiffened resolve.” Id. at 124. Therefore,

  choosing to quickly accept a plea bargain rather than fight an uphill battle in

  court may in fact be commendable performance (and thus far from deficient).



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        That is underscored by the lack of prejudice here. Gilder claims counsel

  was ineffective in part because she did not investigate his claims that his

  confession should have been suppressed due to constitutional violations. (Dkt.

  1 at 13.) However, had Gilder’s counsel attempted to move to suppress

  Gilder’s confession to police, he risked a “stiffened resolve” on the part of the

  prosecution. Premo, 562 U.S. at 124. Such a motion could have eliminated

  any good will in plea negotiation process, or given the prosecution more time

  to beef up its own case. Either could have hurt Gilder in the long run. More

  importantly, such a claim would have been for naught. As is explained in

  more detail below, any claim that Gilder’s constitutional rights were violated

  during the police interrogation is fruitless. Any suppression motion would

  have gained Gilder nothing, while risking a lot.

        In fact, counsel would have been deficient if she undermined the plea

  deal. Gilder originally faced a twenty-two count indictment. Furthermore, the

  Government’s case against Gilder included incredibly strong evidence. In

  addition to Gilder’s own recorded confession to police during an interrogation,

  the Government had eyewitness testimony from robbery victims, officer

  testimony detailing Gilder’s flight from police before arrest, and surveillance

  video of one of Gilder’s robberies, which included footage of him discharging a

  firearm at the gas station clerk. (Crim. Dkt. 47 at 5.) Ultimately, the

  Government had sufficient evidence that Gilder committed eleven violent

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  robberies in a time period of two months, and likely would have succeeded at

  trial on all twenty-two counts. But, under the plea deal counsel negotiated,

  the government agreed to drop eighteen counts and recommend a sentence at

  the low end of the guideline range. (Crim. Dkt. 43.) Ultimately, Gilder

  received the minimum sentence, thirty-five years—based, in part, on his

  cooperation. (Crim. Dkt. 55.)

        Counsel had no reason to risk such a beneficial deal. At the time of plea

  negotiations, no competent attorney would have advised engaging in futile

  challenges when their client faced a significantly worse downside. See, e.g.,

  Premo, 562 U.S. at 124.

        Therefore, when addressing the merits of Gilder’s Strickland claims

  below, counsel’s strategic decisions made during the plea bargaining—which

  resulted in a highly beneficial deal for the defendant—color the argument

  even more in favor of dismissal.

              B. Counsel’s failure to investigate a fruitless defense does
                 not constitute deficiency

        Effective representation includes pretrial investigation, although a

  decision not to investigate must be viewed within the totality of the

  circumstances. Santiago v. Hinsley, 93 F. App’x 74, 78 (7th Cir. 2004). The

  Sixth Amendment does not require an attorney to investigate defenses not

  reasonably suggested by the facts of the case or by defendant’s conduct.


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  United States ex rel. Rivera v. Franzen, 794 F.2d 314, 31 (7th Cir. 1986). “In a

  failure to investigate case, a defendant must prove evidence uncovered during

  the investigation would have led the attorney to change h[er]

  recommendation to accept the plea offer.” Warren v. Baenen, 712 F.3d 1090,

  1097 (7th Cir. 2013).

        As an initial matter, to the extent that Gilder’s claims are freestanding

  constitutional claims, they are procedurally defaulted. Sandoval v. United

  States, 574 F.3d 847, 850 (7th Cir. 2009); cf. Stone v. Powell, 428 U.S. 465,

  494–95 (1976). To the extent that his claims are under the guise of

  ineffective assistance of counsel, they are not procedurally defaulted and the

  government will address them below.

        In all events, Gilder’s claims here are meritless. He claims that his

  attorney should have moved to suppress evidence from his police interview.

  But the arguments he believes his attorney should have made are not

  supported by the record. Gilder first claims he “was not advised that he was

  waiving his right to have counsel present during the questioning stage of the

  investigation.” (Dkt. 1 at 5.) Additionally, he claims he “was not advised of his

  Miranda rights and was basically coerced into waiving them.” Id.

        However, any claim that Gilder was not informed of his Miranda rights

  is incorrect. The record clearly reflects law enforcement officials properly

  advised Gilder of his rights and he voluntarily chose to waive them. (See

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  Exhibit A.) 2 The Advisement of Rights Gilder signed specifically stated he

  had a right to consult an attorney before being questioned and to have an

  attorney present during questioning. (Id.) Miranda rights are not required to

  be given using particular words, as long as the rights are reasonably

  conveyed. United States v. Wysinger, 683 F.3d 784, 798 (7th Cir. 2012). There

  is no question the right to have an attorney present during question was

  clearly communicated to Gilder. (Id.) Thus, his attorney cannot have been

  ineffective for failing to raise this meritless, factually inaccurate, claim.

          Gilder next asserts his Sixth Amendment rights were violated during

  his questioning because he was “coerced” into waiving his rights. (Dkt. 1 at

  15.) When determining if police coerced a Miranda waiver, courts look to “the

  defendant’s age, education, intelligence level, and mental state; the length of

  the defendant’s detention; the nature of the interrogations; the inclusion of

  advice about constitutional rights; and the use of physical punishment,

  including deprivation of food or sleep.” United States v. Huerta, 239 F.3d 865,

  871 (7th Cir. 2001). Nothing about this interrogation suggests coercion: it

  included no physical punishment; it was brief and collegial; Gilder gave no

  indication he was mentally impaired or under the influence of drugs or




  2 The United States has attached Gilder’s signed Advisement of Rights as
  Exhibit A. The government is in possession of the video of Gilder’s police
  interview and it is available for review, if needed by the Court.
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  alcohol; and he was advised of his constitutional rights. Gilder’s only

  assertion of coercion is that officers forced him to waive his rights by

  intimidating him and telling him cooperating was in his best interests. (Dkt.

  1, pg. 15.) This Court has specifically found intimidation is not a factor

  indicating coercion. United States v. Snodgrass, 635 F.3d 324 (7th Cir. 2011).

  Furthermore, police officers are allowed to “play on a suspect’s fears and

  anxieties” as long as they do not magnify such fears to a point where the

  defendant cannot make a rational decision. United States v. Sablotony,

  21F.3d 747, 752 (7th Cir. 1994).

        Gilder makes no claim that his fear made him unable to rationally

  think, or that the officers themselves magnified that fear. Similarly, Gilder

  asserts he was induced to waive his rights by officers who suggested

  cooperating was in his best interests. (Dkt. 1, pg. 5). However, officers are

  free to solicit confessions or statements through promises of leniency. United

  States v. Harris, 914 F.2d 927, 933 (7th Cir. 1990). Ultimately, nothing in the

  record suggests Gilder was improperly coerced into waiving his rights. Thus,

  as with his first claim here, Gilder’s attorney cannot have been ineffective for

  failing to raise this meritless claim.

        Finally, Gilder argues his waiver of rights was invalid due to a

  misreading of his rights. Specifically, Gilder asserts the police officers

  improperly read him his rights in a way that suggested he could either have

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  an attorney present before his interrogation or during, but not both. (Dkt. 1,

  pg. 15.) The Supreme Court has held Miranda warnings do not necessitate a

  precise formulation. Duckworth v. Eagan, 492 U.S. 195, 202 (1989). Rather,

  the words must simply convey four warnings: the right to remain silent, that

  anything said can be used against him in court, right to the presence of an

  attorney, and if he cannot afford an attorney one will be appointed for him.

  Id. A misreading of Miranda rights can invalidate a waiver if the words did

  not reasonably convey to a defendant these rights. Wysinger, 683 F.3d at 798.

        However, that is not the case here. Before questioning, law enforcement

  offices clearly conveyed to Gilder his rights, including the right to have an

  attorney present before and during questioning, and even gave him a paper

  copy of those listed rights which he signed. (See Exhibit A.) This Advisement

  of Rights form clearly states all four warnings as required by Miranda, and in

  no way misstates the time frame of when a lawyer’s presence can be

  requested. (Id.) Gilder knew and understood his rights and nonetheless chose

  to waive them. His attorney was not ineffective for failing to raise this

  incorrect argument.

        Counsel is only required to investigate potentially fruitful defenses. See

  Santiago, 93 F. App’x at 78 (emphasis added). As none of the Sixth or Fifth

  Amendment claims had merit, counsel’s failure to investigate was not



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  deficient performance. Therefore, Gilder has failed to prove ineffective

  assistance of counsel, and the claim should be dismissed.

              C. In light of the meritless defense and highly beneficial
                 plea deal, Gilder has failed to show prejudice

        Where the alleged error of counsel is failure to investigate, “the

  determination whether the error ‘prejudiced’ the defendant by causing him to

  plead guilty rather than go to trial will depend on the likelihood that

  discovery of the evidence would have led counsel to change h[er]

  recommendation as to the plea.” Hill, 474 U.S. at 58. This largely depends on

  whether the evidence would have likely changed the outcome of a trial. Id.

        The record reflects there was no reasonable probability of going to trial,

  even if the confessions to police were suppressed. As explained above, even

  without Gilder’s confession, the prosecution maintained a strong case against

  him. Furthermore, the plea deal, which required Gilder to plead guilty to only

  four out of twenty-two counts, highly benefitted him.

        It is unlikely the suppression of the confession would have changed

  counsel’s plea recommendation, due to the strength of the government’s case.

  The Seventh Circuit has declined to find prejudice, even where counsel erred

  in failing to suppress evidence, where there is remaining evidence of

  substantial quality and quantity against the defendant. See Welch v. Hepp,

  793 F.3d 734, 738 (7th Cir. 2015) (holding no prejudice despite counsel’s error


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  when jury likely would have convicted based on remaining evidence,

  including eyewitness testimony, defendant’s flight from police, co-defendant’s

  testimony, and DNA evidence). The Supreme Court has held there are many

  reasons a defendant may choose a plea deal even if their confessions are

  suppressed, particularly if the prosecution’s case remains strong. See Premo,

  562 U.S. at 130.

        Per the prejudice standard articulated in Hill, the likelihood of Gilder

  refusing such a beneficial plea deal and going to trial against a strong

  prosecution has not been shown with reasonable probability.

        Gilder has not carried his burden to show ineffective assistance of

  counsel.

                     V.    Remaining Constitutional Claims

        Gilder next asserts two more claims: (1) that 28 U.S.C. § 924(c) is

  unconstitutionally vague; and (2) that his Sixth Amendment right to a jury

  trial was violated. However, both of these freestanding claims were foreclosed

  by his appellate waiver and meritless.

             A. Gilder’s appellate waiver forecloses claims of
                unconstitutional vagueness and Sixth Amendment
                violation

        Per his plea agreement, Gilder entered into a valid and enforceable

  appellate waiver. (Dkt. 43.) In exchange for the government’s dismissal of

  Counts 1 through 8, 10, 12 through 19, and 21, Gilder waived his right to

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  appeal, contest, or modify his sentence, including bringing a motion under

  § 2255. Id.

        Such waivers of collateral review in plea agreements are generally

  enforceable. Hurlow v. United States, 726 F.3d 958, 964 (7th Cir. 2013). A

  waiver of collateral relief will be enforced so long as (1) it was made

  knowingly and voluntarily, (2) no constitutionally impermissible factors were

  considered at sentencing, (3) the term of imprisonment imposed did not

  exceed the statutory maximum, and (4) the petitioner does not claim

  ineffective assistance of counsel in connection with the negotiation of the plea

  agreement. Keller v. United States, 657 F.3d 675, 681 (7th Cir. 2011).

        Gilder’s claims regarding unconstitutional vagueness and an Apprendi

  violation fall under none of these exceptions. And, unlike his arguments

  above, he does not couch these under an ineffective assistance of counsel.

        Thus, these issues are within the scope of the broad collateral attack

  waiver that prohibits him from collaterally attacking his conviction and

  sentence on any ground. This Court should enforce the waiver to which

  Gilder agreed and summarily deny these arguments as waived.

           B. Even if these claims had not been waived, both are
              procedurally defaulted.

        Furthermore, both the unconstitutional vagueness and Apprendi claim

  could have been raised on direct appeal, but were not. As such, they are


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  procedurally defaulted. “Claims cannot be raised for the first time in a § 2255

  motion if they could have been raised at trial or on direct appeal.” Sandoval,

  574 F.3d at 850.

           C. In addition to being waived and procedurally defaulted,
              both claims are meritless

        While these claims are waived and procedurally defaulted, the

  government will briefly address the merits of each.

        Supreme Court precedent forecloses Gilder’s first claim. He first claims

  28 U.S.C. § 924(c) is unconstitutionally vague because it “does not clarify that

  the 25 year mandatory minimum sentence for a second or subsequent offense

  of possessing firearms in the course of a crime of violence only applies when

  the prior § 924(c) conviction is already final prior to the commission of a new

  § 924(c) offense.” (Dkt. 14.) But, in Deal v. United States, the Supreme Court

  disagreed with this exact argument. 508 U.S. 132-34 (1993). In Deal, the

  Court held that § 924(c) unambiguously referred to the finding of guilt that

  precedes the entry of final judgment and expressly rejecting the dissent’s

  argument that the enhanced sentence can be applied only once the prior

  sentence is final. Id. Therefore, Gilder’s claim of unconstitutional vagueness

  should be dismissed.

        Gilder’s next argument ignores that he pleaded guilty. He claims that

  his sentence violates his Sixth Amendment right to a jury trial because his


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  sentence was enhanced “based on a sentencing judge’s finding that he

  discharged a firearm.” (Dkt. 14.) Gilder claims “any fact that increases the

  penalty for a crime beyond the prescribed statutory maximum must be

  submitted to a jury.” Id. To be sure, in Apprendi v. New Jersey, the Supreme

  Court stated the Due Process Clause entitles defendants to a decision by the

  trier of fact using the reasonable doubt standard on any fact that increases

  the statutory maximum penalty. 530 U.S. 466, 490 (2000).

        But Gilbert pleaded guilty. “[B]y pleading guilty, he waived any right

  to a jury trial and may not contend on appeal that any particular issue

  should have been submitted.” United States v. Parker, 245 F.3d 974, 977 (7th

  Cir. 2001). And that is true as to his particular claim as well. See United

  States v. Henderson, 16 F. App’x 487, 490 (7th Cir. 2001) (holding no

  Apprendi violation when government charged amount of drugs in the

  indictment and the defendant later pled guilty). Therefore, Gilder’s Sixth

  Amendment violation claim has no merit because there was no Apprendi

  violation.

        As these two claims are waived, procedurally defaulted, and without

  merit, this Court should deny these claims.




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                                  VI.   First Step Act

        A. The First Step Act claim is inapplicable to this case

        Lastly, Gilder claims the First Step Act applies to his sentence and,

  therefore, it should be reduced. (Dkt. 14). Section 403 of the Fair Step Act,

  which covers § 924(c) offenses, makes clear the amendments to sentencing

  made by the Fair Step Act apply to offenses committed before the Act was

  enacted only if “the sentence for the offense has not been imposed as of such

  date of enactment.” Pub. L. No. 115-391, § 403, 132 Stat. 5194, 5222 (2018).

  Gilder’s sentencing occurred on July 10, 2017, far before the Fair Step Act’s

  enactment date of December 21, 2018. (Dkt. 55). Therefore, the law is not

  applicable to his case.

                                   CONCLUSION

        The United States respectfully urges the Court to deny Gilder’s U.S.C.

  § 2255 motion with prejudice.

                                        Respectfully submitted,

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                                        United States Attorney

                                  By:   s:/Jeffrey D. Preston
                                        Jeffrey D. Preston
                                        Assistant United States Attorney




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                         CERTIFICATE OF SERVICE

        I certify that on March 28, 2019, a copy of the foregoing was filed

  electronically and that a copy was mailed the following day by first class U.S.

  Mail, postage prepaid and properly addressed to the following:

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